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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,)
                         )
        Plaintiff,       )                   Case No. CR-06-126-S-BLW
                         )
    v.                   )                   ORDER ADOPTING
                         )                   REPORT AND
GERALD FRANCIS McDONALD, )                   RECOMMENDATION
                         )
        Defendant.       )
                         )

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 384). On November 29, 2007, Defendant

GERALD FRANCIS McDONALD appeared before the Magistrate Judge to enter

a change of plea pursuant to a written plea agreement. The Magistrate Judge

conducted the plea hearing and concluded there is a factual basis for Defendant’s

plea of guilty to Count 2 of the Superseding Indictment, and that it was entered

voluntarily and with full knowledge of the consequences.

      Defendant was advised that this Court would decide whether or not to be

bound by the plea and Plea Agreement containing a stipulated sentencing range

after reviewing Defendant’s presentence report. The Magistrate Judge then



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recommended that if the Court determined that the plea and Plea Agreement

containing the stipulated sentencing range should be accepted, then the

Defendant’s plea of guilty to Count 2 of the Superseding Indictment (Docket No.

197) be accepted at the time of sentencing.

      No objections to the Report and Recommendation had been filed. However,

the Court deferred a decision on whether to adopt the Report and Recommendation

until hearing argument of counsel at the sentencing hearing.

      The Court reviewed the record and found at the sentencing hearing that the

requirements of Rule 11 had been met. See United States v. Reyna-Tapia, 328 F.3d

1114 (9th Cir. 2003). Specifically, the Court found that the Magistrate Judge

adhered to the requirements of Rule 11(b); that under Rule 11(b)(2), the

Defendant’s plea was voluntary and not the result of force or threats or promises

apart from the plea agreement; and that a factual basis for the plea exists. See id.

      Furthermore, at the sentencing hearing, the Court orally accepted

Defendant’s plea and the Plea Agreement finding that the stipulated sentencing

range was within the applicable guideline range. The Court then orally adopted the

Report and Recommendation and advised that a written order would follow.

Although not addressed in the Plea Agreement, the Government moved to dismiss

Counts 1, 3, 4, 5, 6, 7, and 8 which the Court granted. Accordingly,


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      NOW THEREFORE IT IS HEREBY ORDERED that the Court’s oral

adoption of the Report and Recommendation (Docket No. 384) at the sentencing

hearing shall be, and the same is hereby, confirmed, and the Report and

Recommendation was ADOPTED as the decision of the District Court and

incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Court’s oral ACCEPTANCE of

Defendant’s plea of guilty to Count 2 of the Superseding Indictment as a knowing

and voluntary plea supported by an independent basis in fact containing each of the

essential elements of the offense, shall be, and the same is hereby, confirmed.

      IT IS FURTHER ORDERED that the Court’s oral finding that Defendant

GERALD FRANCIS McDONALD is GUILTY as to the crime charged in Count 2

of the Superseding Indictment is hereby confirmed.

      IT IS FURTHER ORDERED that the Counts 1, 3, 4, 5, 6, 7, and 8 are

DISMISSED.

                                          DATED: July 23, 2008



                                          B. LYNN WINMILL
                                          Chief Judge
                                          United States District Court




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